EXHIBIT B‐ Ineligible/Some Discovery but NO Expert Report/Rec'd a Deficiency Letter and response date has expired


                                                                                                                  Zero
                                                                                                                  Compliance
                                                            Middle                                                Deficiency
VCN      FirmName                LastName      FirstName    Initial   Case Caption              Docket #          Letter Date

                                                                      Fleckenstein, Pamela J. v. 2:05‐cv‐02261‐
1028536 Beattie Law Firm, P.C.   Braack        Sharon       E.        Merck & Co., Inc.          EEF‐DEK              8/15/2008

                                                                      Fleckenstein, Pamela J. v. 2:05‐cv‐02261‐
1028537 Beattie Law Firm, P.C.   Braack        Terry        L.        Merck & Co., Inc.          EEF‐DEK              8/15/2008

        Cantu, Mark A., Law                                           Garza, Irma v. Merck &    2:07‐cv‐03488‐
1113949 Office of                Garza         Irma                   Co., Inc.                 EEF‐DEK               8/15/2008

        Cory, Watson, Crowder                                         Albertson, Beverly v.     2:06‐cv‐06236‐
1084906 & DeGaris             Albertson        Beverly                Merck & Co., Inc.         EEF‐DEK               8/15/2008

        Cory, Watson, Crowder                                         Fulton, Arthur v. Merck & 2:05‐cv‐00436‐
1084957 & DeGaris             Fulton           Rebeka                 Co., Inc.                 EEF‐DEK               8/15/2008

        Cory, Watson, Crowder                                         Knifley, Welby R. v.      2:05‐cv‐05635‐
1085001 & DeGaris             Knifley          Thelma       B.        Merck & Co., Inc.         EEF‐DEK               8/15/2008

        Johnson & Benjamin                                            Blankson, Florence v.     2:05‐cv‐05079‐
1085697 LLP                      Blankson      Florence     C.        Merck & Co., Inc.         EEF‐DEK               8/14/2008

        Johnson & Benjamin                                            Mathis, Hollis v. Merck & 2:05‐cv‐05080‐
1085703 LLP                      Mathis        Hollis                 Co., Inc.                 EEF‐DEK               8/14/2008




        EXHIBIT B                                            Page 1 of 1             Ineligible/Some Discovery/No Expert Report
